       Case 8:17-cv-00659-GLS-DEP Document 85 Filed 03/08/19 Page 1 of 1

Johnson & Laws, LLC
Attorneys at Law
648 Plank Road, Suite 204                                                          Gregg T. Johnson
Clifton Park, New York 12065                                                                 Partner
518.490.6428 phone                                                               518.490.6413 direct
518.616.0676 fax                                                             gtj@johnsonlawsllc.com

                                                            March 8, 2019
VIA ELECTRONIC FILING


Hon. Gary L. Sharpe, Sr. U.S.D.J.
James T. Foley U.S. Courthouse
445 Broadway Room 112
Albany, New York 12207

Re:     Hillary v. Village Potsdam, et al.
        Civil Case No.: 17-cv-00659 (GLS-DEP)

Dear Judge Sharpe:

       As Your Honor is aware, this firm represents the Village of Potsdam Defendants in the
above-referenced action. We are in receipt of Your Honor’s February 28, 2019 Memorandum-
Decision and Order (“Decision”) (Dkt. No. 83), and we write to seek clarification regarding
Defendant Edward Tischler.

       In Section E 2 of the Court’s Decision, at page 34, Your Honor states “. . . the portion of
Village defendants’ motion seeking dismissal of the claims against Chief Tischler for a lack of
personal involvement is granted.” We note, however, that Chief Tischler is not listed as a
defendant to be terminated from this action in the Conclusion of Your Honor’s Decision.

       By this writing we respectfully request that the Court clarify the direction to the Clerk to
include the termination of Mr. Tischler as a defendant.

        Thank you in advance for your time and attention to this request.

                                                            Respectfully,
                                                            JOHNSON & LAWS, LLC

                                                             S/
                                                            Gregg T. Johnson (506443)
                                                            gtj@johnsonlawsllc.com
GTJ:lmg
cc:   Barket Epstein Kearon Aldea & LoTurco, LLP
      Hancock Estabrook, LLP
      NYS Attorney General’s Office
      Bond, Schoeneck & King, PLLC
      Onondaga County Department of Law
      Dreyer, Boyajian Law Firm
